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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

MICHAEL HAMBLIN                                 )
13 Hammann Drive                                )
Amelia, OH 45102                                )
                                                )
       Plaintiff,                               )
                                                )
       v.                                       )      No.
                                                )
CREDIT COLLECTION SERVICES, INC.                )
2 Wells Avenue                                  )
Newton, MA 02459                                )
                                                )
       Defendant.                               )

                                PLAINTIFF’S COMPLAINT

       Plaintiff, MICHAEL HAMBLIN (“Plaintiff”), through his attorneys, Jack S. Malkin, Esq.,

alleges the following against Defendant, CREDIT COLLECTION SERVICES, INC.

(“Defendant”):

                                      INTRODUCTION

   1. Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15

       U.S.C. § 1692, et seq. (“FDCPA”).

   2. Count II of Plaintiff’s Complaint is based on the Telephone Consumer Protection Act, 47

       U.S.C. § 227, et seq. (“TCPA”).

                               JURISDICTION AND VENUE

   3. This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337, and 15 U.S.C. § 1692k

       (FDCPA).

   4. This Court has federal question jurisdiction because this case arises out of violations of

       federal law. 47 U.S.C. §227(b); Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740 (2012).
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5. Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states that such

   actions may be brought and heard before “any appropriate United States district court

   without regard to the amount in controversy.”

6. Venue and personal jurisdiction in this District are proper because Defendant does or

   transacts business within this District, and a material portion of the events at issue occurred

   in this District.

                                        PARTIES

7. Plaintiff is a natural person residing in Amelia, Clermont County, Ohio.

8. Plaintiff is a consumer as that term is defined by the FDCPA.

9. Plaintiff allegedly owes a debt as that term is defined by the FDCPA.

10. Defendant is a debt collector as that term is defined by the FDCPA.

11. Within the last year, Defendant attempted to collect a consumer debt from Plaintiff.

12. Defendant is a collection agency with a principal office located in Boston, Massachusetts.

13. Defendant’s business includes, but is not limited to, collecting on unpaid, outstanding

   account balances.

14. When an unpaid, outstanding account is placed with Defendant it is assigned a file number.

15. The principal purpose of Defendant’s business is the collection of debts allegedly owed to

   third parties.

16. Defendant regularly collects, or attempts to collect, debts allegedly owed to third parties.

17. During the course of its attempts to collect debts allegedly owed to third parties, Defendant

   sends to alleged debtors bills, statements, and/or other correspondence, via the mail and/or

   electronic mail, and initiates contact with alleged debtors via various means of

   telecommunication, such as by telephone and facsimile.
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18. Defendant acted through its agents, employees, officers, members, directors, heirs,

   successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.



                              FACTUAL ALLEGATIONS

19. Defendant is attempting to collect an alleged consumer debt from Plaintiff, allegedly

   arising from Plaintiff’s medical procedure.

20. The alleged debt at issue arises from transactions for personal, family, and household

   purposes.

21. In or around June 2020, Plaintiff noticed that Defendant was reporting on his credit report.

22. On or about June 28, 2020, Plaintiff sent a certified letter to Defendant. See Plaintiff’s

   letter to Defendant, attached hereto as Exhibit A.

23. In the above-referenced letter:

       a. Plaintiff requested for verification of the alleged debt;

       b. Plaintiff disputed the validity of any alleged debt that Defendant was attempting to

           collect; and

       c. Plaintiff expressly revoked consent for Defendant to contact Plaintiff.

   See Exhibit A.

24. Within the past year of Plaintiff filing this Complaint, Defendant began placing calls to

   Plaintiff on Plaintiff’s cellular telephone at xxx-xxx-6552, in an attempt to collect the

   alleged debt.

25. Defendant calls Plaintiff from various numbers, including but not limited to 781-694-

   9000, which is one of Defendant’s telephone numbers.

26. On or about September 4, 2020 at approximately 11:50 a.m., Defendant called Plaintiff
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   from 844-682-4502

27. On or about September 4, 2020 at approximately 1:19 p.m., Defendant again called

   Plaintiff from 844-682-4502.

28. On or about September 11, 2020 at approximately 2:11 p.m., Defendant called Plaintiff

   from 781-694-9000.

29. On or about September 16, 2020 at approximately 11:50 a.m., Defendant called Plaintiff

   from 844-682-4502.

30. On or about September 25, 2020 at approximately 12:29 p.m., Defendant called Plaintiff

   from 781-694-9000.

31. On or about September 25, 2020 at approximately 12:29 p.m., Plaintiff answered

   Defendant’s call and spoke with Defendant’s female collector, Ashleigh Spinelli

   (“Ashleigh”).

32. During the conversation with Ashleigh:

       a. Plaintiff advised Ashleigh that he sent a certified letter to Defendant demanding

           for validation of the alleged debt and for Defendant to cease contacting Plaintiff;

       b. Ashleigh falsely represented that she would put a note in Defendant’s system to

           stop contacting Plaintiff; and

       c. Plaintiff advised Ashleigh that he is represented by Agruss Law Firm and provided

           contact information for the same.

33. On or about January 27, 2021, Defendant sent a letter to Plaintiff in an attempt to collect

   the alleged debt. See Debt Collection Letter, attached hereto as Exhibit B.

34. On or about January 28, 2021 at approximately 12:21 p.m., Defendant called Plaintiff from

   781-694-9000.
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35. When Plaintiff answered the above-mentioned call, Defendant’s collector immediately

   disconnected the call.

36. On or about January 28, 2021 at approximately 1:44 p.m., a little over an hour since

   Defendant last called Plaintiff, Defendant called again from a different number 800-845-

   6167.

37. On or about January 28, 2021 at approximately 1:44 p.m., Plaintiff answered Defendant’s

   call and spoke with Defendant’s collector, Katie.

38. During the conversation with Katie:

       a. Katie stated that she was calling on behalf of LapCorp for a past due balance of

           $152.64;

       b. Plaintiff asked Katie for the name of the company that she worked for and Katie

           refused to provide Plaintiff with the information;

       c. Plaintiff informed Katie that he sent a cease-and-desist letter to Defendant; and

       d. Katie stated that she would transfer Plaintiff to the billing department and during

           the “transfer” the call was disconnected.

39. On or about February 11, 2021 at approximately 2:32 p.m., Defendant called Plaintiff from

   781-694-9000.

40. On or about February 11, 2021 at approximately 2:32 p.m., Plaintiff answered Defendant’s

   call. When Plaintiff answered, there was about a 30-second pause before Plaintiff was

   transferred to Defendant’s female collector, Megan Emerson (“Megan”).

41. During the conversation with Megan, Plaintiff again provided Megan with Agruss Law

   Firm’s contact information.

42. Despite Plaintiff’s repeated requests for Defendant to stop calling him, Defendant
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   continued to call Plaintiff’s telephone unabated.

43. Despite Plaintiff’s written dispute of the debt, Defendant continued to place collection

   calls to Plaintiff’s telephone.

44. None of the telephone calls Defendant made to Plaintiff were for an emergency purpose.

45. Prior to calling Plaintiff’s cellular telephone, Defendant knew the number was a cellular

   telephone number.

46. During at least one conversation, Defendant learned that Plaintiff wanted Defendant to

   stop calling Plaintiff’s cellular telephone.

47. During at least one conversation, Defendant learned that Plaintiff was represented by an

   attorney in regard to the alleged debt.

48. Even if at one point Defendant had permission to call Plaintiff’s cellular telephone,

   Plaintiff revoked this consent.

49. Defendant continued to call Plaintiff’s cellular telephone after Defendant knew Plaintiff

   wanted the calls to stop.

50. Within 4 years of Plaintiff filing this Complaint, Defendant used an automatic telephone

   dialing system to call Plaintiff’s cellular telephone.

51. Within 4 years of Plaintiff filing this Complaint, Defendant called Plaintiff’s cellular

   telephone in predictive mode.

52. Within 4 years of Plaintiff filing this Complaint, Defendant left voicemail messages for

   Plaintiff on Plaintiff’s cellular telephone.

53. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

   capacity to store telephone numbers.

54. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the
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   capacity to call stored telephone numbers automatically.

55. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

   capacity to call stored telephone numbers without human intervention.

56. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

   capacity to call telephone numbers in sequential order.

57. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

   capacity to call telephone numbers randomly.

58. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone selects

   telephone numbers to be called according to a protocol or strategy entered by Defendant.

59. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone

   simultaneously calls multiple consumers.

60. While Defendant called Plaintiff’s cellular telephone, Plaintiff’s cellular telephone line

   was unavailable for legitimate use during the unwanted calls.

                         COUNT I
DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

61. Plaintiff repeats and re-alleges paragraphs one (1) through sixty (60) of Plaintiff’s

   Complaint as the allegations in Count I of Plaintiff’s Complaint.

62. Defendant violated the FDCPA based on the following:

       a. Defendant violated § 1692c(a)(2) of the FDCPA by communicating with the

           Plaintiff after the Defendant knows the consumer is represented by an attorney

           with respect to such debt, when Defendant continued to place collection calls to

           Plaintiff after Defendant knew Plaintiff was represented by counsel;

       b. Defendant violated § 1692c(c) of the FDCPA by failing to cease communication

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        with Plaintiff when Plaintiff notified Defendant in writing that the Plaintiff refused

        to pay a debt or that Plaintiff wishes that Defendant ceases call communication

        with Plaintiff, when Defendant continued to call Plaintiff after Plaintiff sent a

        cease-and-desist letter to Defendant;

     c. Defendant violated § 1692d of the FDCPA by engaging in conduct that the natural

        consequence of which was to harass, oppress, and abuse Plaintiff in connection

        with the collection of an alleged debt, when Defendant placed collection calls to

        Plaintiff after Plaintiff disputed owing the alleged debt and when Defendant

        continued to place collection calls to Plaintiff after Plaintiff requested for

        Defendant to stop calling him;

     d. Defendant violated §1692d(5) of the FDCPA by causing a telephone to ring or

        engaging any person in telephone conversation repeatedly or continuously with

        intent to annoy, abuse, or harass any person at the called number, when Defendant

        continued to place collection calls to Plaintiff after Plaintiff requested for

        Defendant to stop calling him;

     e. Defendant violated § 1692e(10) of the FDCPA by using any false representation

        or deceptive means to collect or attempt to collect any debt, when Defendant

        created the false impression it was permitted to call Plaintiff unabated despite his

        request for Defendant to stop calling him and when Defendant’s female collector

        falsely represented that she would make a note in Defendant’s system to not call

        Plaintiff;

     f. Defendant violated § 1692g(a)(3) of the FDCPA by ignoring Plaintiff’s written

        dispute of the validity of the alleged debt and continuing to assume the validity of
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              the alleged debt, when Defendant continued to call and harass Plaintiff in an

              attempt to collect the alleged debt;

          g. Defendant violated § 1692g(b) of the FDCPA by engaging in collection activities

              and communication during the time period prescribed in § 1692g(a) and (b) that

              overshadowed or was inconsistent with the disclosure of the consumer’s right to

              dispute the debt, when Defendant continued to place collection calls to Plaintiff

              after Plaintiff orally disputed owing the alleged debt; and

          h. Defendant violated § 1692f of the FDCPA by its use of unfair or unconscionable

              means to collect or attempt to collect any debt, when Defendant engaged in all of

              the foregoing misconduct.

      WHEREFORE, Plaintiff, MICHAEL HAMBLIN respectfully requests judgment be

entered against Defendant, CREDITORS COLLECTION SERVICE, INC., for the following:

   63. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

      U.S.C. § 1692k;

   64. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

      15 U.S.C. § 1692k; and

   65. Any other relief that this Honorable Court deems appropriate.

                            COUNT II
  DEFENDANT VIOLATED THE TELEPHONE CONSUMER PROTECTION ACT

   66. Plaintiff repeats and re-alleges paragraphs one (1) through sixty (60) of Plaintiff’s

      Complaint as the allegations in Count II of Plaintiff’s Complaint.

   67. Defendant’s conduct violated the TCPA by:

          a. Placing non-emergency telephone calls to Plaintiff’s cellular telephone using an

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              automatic telephone dialing system and/or pre-recorded or artificial voice in

              violation of 47 U.S.C. § 227 (b)(1)(A)(iii).

      WHEREFORE, Plaintiff, MICHAEL HAMBLIN, respectfully requests judgment be

entered against Defendant, CREDITORS COLLECTION SERVICE, INC., for the following:

   68. As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1), Plaintiff is entitled

      to and requests $500.00 in statutory damages, for each and every violation, pursuant to 47

      U.S.C. § 227(b)(3)(B).

   69. As a result of Defendant’s willful and/or knowing violations of 47 U.S.C. § 227(b)(1),

      Plaintiff is entitled to and requests treble damages, as provided by statute, up to $1,500.00,

      for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §

      227(b)(3)(C).

   70. Plaintiff is entitled to and seeks injunctive relief prohibiting such conduct in the future.

   71. Any other relief that this Honorable Court deems appropriate.


                                      RESPECTFULLY SUBMITTED,



March 15, 2021                        By:_/s/ Jack S. Malkin_______________________
                                             Jack S. Malkin, Esq.
                                             Ohio Bar Number: 0034018
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                                             Shaker Heights, OH 44122
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                          EXHIBIT A




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                          EXHIBIT B




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